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 LAMD Using ZoomGov as a Participant

On Laptop: Join a meeting (use Chrome or IE)
Navigate to room URL: https://zoomgov.com/my/ewd20




OPTION 1: Join with Computer Audio (for best audio quality use a headset)
OPTION 2: Join by Phone Call


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 Meeting ID                                          Judge
 160-0389-3634                                       SDD – Chief Judge Shelly D. Dick
 160-0389-3692                                       BAJ – Judge Brian A. Jackson
 160-0389-3568                                       JWD – Judge John W. deGravelles
 160-0389-3602                                       RLB – Magistrate Richard L. Bourgeois
 160-0389-3584                                       EWD – Magistrate Erin Wilder-Doomes
 160-0389-3592                                       SDJ – Magistrate Scott D. Johnson
 160-0389-3500                                       LAMD Court (for testing)


Mute your Microphone when not speaking



Breakout Room
When being invited to a Breakout Room, click the Join button on the pop-up.




To return back to the Main Session, click “Leave Breakout Room.”




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